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                          UNITED STATES DISTRCIT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



GRACE SANCHEZ,
Plaintiff

vs                                               Case No.: 8:818-cv-01584-T-33AAS

BMW FINANCIAL SERVICES, NA LLC,
Defendant


              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       Plaintiff, Grace Sanchez, with Defendant, BMW Financial Services NA LLC (“BMW”)

file this stipulation of voluntary dismissal with prejudice. This matter was closed with the

American Arbitration Association as well (Case Number: 01-18-0002-8675).


                                          Respectfully Submitted,
                                          /s/Janelle Neal
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                                          Attorney for Defendant BMW
                                          /s/ Brian Frontino
                                          Brian Frontino, Esq.
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                                 CERTIFICATE OF SERVICE

I hereby certify that the foregoing was electronically filed with the Clerk of the Court using the
CM/ECF system, on this 18th day of May, which will send a notice of filing to all attorneys of
record.

                                              By: /s/ Janelle Neal
                                              Janelle Neal, Esq.
